     Case 1:11-cr-00352-LJO-SKO Document 99 Filed 01/23/17 Page 1 of 2


 1   HEATHER E. WILLIAMS, #122664
     Federal Defender
 2   CHARLES J. LEE, Bar #221057
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: 559-487-5561/Fax: 559-487-5950
 5
     Attorney for Defendant
 6   Ryan Bagdasarian

 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,  )                  Case No. 1:11-cr-00352 LJO-SKO
                                 )
12                Plaintiff,     )                  STIPULATION AND ORDER TO SET
                                 )                  MOTIONS SCHEDULE AND EVIDENTIARY
13    vs.                        )                  HEARING DATES
                                 )
14    MARK AND RYAN BAGDASARIAN, )                  DATE: April 24, 2017
                                 )                  TIME: 10:00 a.m.
15                Defendant.     )                  JUDGE: Hon. Lawrence J. O’Neill
                                 )
16                               )
                                 )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto, through their
19   respective counsel, that the following dates and deadlines be calendared in this case.
20          First, that a motions hearing date be calendared for March 6, 2017 at 9:30 a.m., with all
21   parties to file by February 20, 2017, and any optional responsive briefs to be filed by February
22   27, 2017.
23          Second, the parties agree that an evidentiary hearing related to U.S. v. McIntosh (15-
24   10117) shall be set for April 24, 2017 at 1:30 p.m. The parties agree that the delay resulting
25   from the continuance shall be excluded in the interests of justice, including but not limited to, the
26   need for the period of time set forth herein for effective defense preparation, the need to file
27   motions, defense investigation, and plea negotiation purposes pursuant to 18 U.S.C. §§
28   3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).
     Case 1:11-cr-00352-LJO-SKO Document 99 Filed 01/23/17 Page 2 of 2


 1                                                           Respectfully submitted,

 2                                                           PHILLIP A. TABLERT
                                                             United States Attorney
 3
     DATED: January 20, 2017                          By:    /s/ Kevin P. Rooney
 4                                                           Kevin P. Rooney
                                                             Assistant United States Attorney
 5                                                           Attorney for Plaintiff

 6
     DATED: January 20, 2017                          By:    /s/ Anthony Capozzi
 7                                                           ANTHONY CAPOZZI
                                                             Attorney at Law
 8                                                           Counsel for Defendant
                                                             MARK BAGDASARIAN
 9
10                                                           HEATHER E. WILLIAMS
                                                             Federal Defender
11
     DATED: January 20, 2017                          By:    /s/ Charles J. Lee
12                                                           CHARLES J. LEE
                                                             Assistant Federal Defender
13                                                           Attorney for Defendant
                                                             RYAN BAGDASARIAN
14
15
16                                                    ORDER

17
18           IT IS SO ORDERED. Time is excluded for effective defense preparation, the need to file

19   motions, defense investigation, and plea negotiation purposes pursuant to 18 U.S.C. §§

20   3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).

21
22   IT IS SO ORDERED.

23       Dated:       January 23, 2017                        /s/ Lawrence J. O’Neill _____
24                                                    UNITED STATES CHIEF DISTRICT JUDGE

25
26
27
28
      BAGDASARIAN: Stipulation and [Proposed] Order    -2-
